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                  UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF IOWA


IN RE:
                                             Involuntary Chapter 7
PURE PRAIRIE POULTRY, INC.,
f/k/a PURE PRAIRIE FARMS, INC.,              Bankruptcy No. 24-01098

       Debtor


                     PROCEEDING MEMO AND ORDER

Date of Telephonic Hearing: December 13, 2024
Hearing on:
      1. Motion for Order Dismissing Case Under 11 U.S.C. §§ 305(a)(1) and
         707(a), or in the Alternative, Granting Relief from the Automatic Stay
         and Request for Telephonic Hearing (Docs. 12 and 23)
      2. Joinder in Motion (Doc. 29)
      3. Joinder to Motion for Order Dismissing Case Under 11 U.S.C. §§
         305(a)(1) and 707(a) and Michael J. Helgeson’s Motion for Relief from
         the Automatic Stay (Doc. 38)
      4. Motion for Order Dismissing Involuntary Bankruptcy Under 11 U.S.C. §§
         303(a) and 707(a) and Request for Telephonic Hearing (Doc. 39)

APPEARANCES:

Attorney Jeffrey D. Goetz for Pure Prairie Poultry, Inc.
Attorney Elissa M. Holman for Pure Prairie Poultry, Inc.
Attorney Clinton E. Cutler for Community Bank & Trust
Attorney Krystal Mikkilineni for The Growers
Attorney Erik Ahlgren for The Growers
Attorney Charles E. Nelson for Michael Helgeson
Attorney Joseph A. Peiffer for Petitioning Creditors Tri-State Poultry, LLC,
      Ekelr, LLC, Larry Falk, and Lee Frie
Attorney Jeffrey D. Klobucar for Petitioning Creditors Tri-State Poultry, LLC,
      Ekelr, LLC, Larry Falk, and Lee Frie
Attorney Alexandria Quinn-Hanse for U.S. Trustee
Attorney Jacob Larson for Iowa Attorney General
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Attorney Kristina M. Stanger for First Cooperative Association (d/b/a AgState)
Attorney Jaden Banks for First Cooperative Association (d/b/a AgState)
Attorney Collin M. Davison for Henkel Construction Company

OUTCOME OF PROCEEDING:

This matter is taken under advisement.


Ordered:
December 13, 2024                             Thad J. Collins
                                              Chief Bankruptcy Judge




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